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                             EXHIBIT A
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         SUPREME COURT OF THE STATE OF NEW YORK
         COUNTY OF NEW YORK
          ---------------------------------------------------------------x

          PEOPLE OF THE STATE OF NEW YORK, by                                  Index No. _____
          LETITIA JAMES, Attorney General of the
          State of New York,                                                   AFFIRMATION OF GOOD
                                                 Petitioner,                   FAITH AND IN SUPPORT
                             -against-                                         OF THE ATTORNEY
                                                                               GENERAL’S ORDER TO
          VDARE FOUNDATION, INC.,                                              SHOW CAUSE TO COMPEL
                                                            Respondent.        COMPLIANCE WITH AN
                                                                               INVESTIGATIVE
                                                                               SUBPOENA
          ----------------------------------------------------------------x

                 YAEL FUCHS, an attorney duly admitted to the Bar of this State, affirms under penalties

         of perjury pursuant to Civil Practice Law and Rules § 2106 as follows:

                 1.       I am an Assistant Attorney General in the Office of Letitia James, Attorney

         General of the State of New York, who appears on behalf of the People of the State of New York

         in this special proceeding.

                 2.       I submit this Affirmation in support of the Office of the Attorney General’s

         application by order to show cause seeking expedited relief in connection with an investigative

         subpoena duces tecum (the “Subpoena”) issued by the Attorney General in connection with an

         investigation of Respondent VDARE Foundation, Inc. (“VDARE”).

                 3.       I am familiar with the facts and circumstances set forth in this affirmation, which

         are based upon my personal knowledge and information contained in the files of the Office of the

         Attorney General (“OAG”).

                 4.       As set forth below and in the accompanying Verified Petition and Memorandum

         of Law, in connection with a lawful law enforcement investigation, the Attorney General has

         issued an investigative subpoena and endeavored to resolve the issue of VDARE’s compliance


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         with that subpoena and has been unable to reach a resolution. The OAG now seeks an order

         pursuant to CPLR § 2308(b) to enforce its non-judicial subpoena without further delay.

                5.      As set forth in greater detail in the accompanying Memorandum of Law, the

         Attorney General is vested with expansive oversight authority of not-for-profit entities, their

         representations to donors and potential donors, and their use of charitable assets under the New

         York Not-for-Profit Corporation Law, the Estates, Powers and Trusts Law and the Executive

         Law.

                6.      Respondent VDARE is a not-for-profit corporation organized under the laws of

         the State of New York. VDARE was previously known as the Lexington Research Institute,

         Limited, and incorporated in New York under that name in 1999. A true and correct copy of

         VDARE’s Certificate of Incorporation is attached hereto as Exhibit A.

                7.      VDARE’s Certificate of Incorporation provides that:

                        ***

                5. Notwithstanding any other provisions of these articles, the Corporation is organized
                exclusively for charitable, educational, and literary purposes and intends at all times to
                qualify as exempt from federal income tax under section 501(c)(3) of the United States
                Internal Revenue Code, as now in effect or as subsequently amended. Accordingly, the
                Corporation shall not be operated for pecuniary profit or financial gain, no part of the net
                earnings of the Corporation shall inure to the benefit of any private individual, no
                substantial part of the Corporation's activities shall consist of carrying on propaganda or
                otherwise attempting to influence legislation, and the Corporation shall not participate or
                intervene in any political campaign on behalf of (or in opposition to) any candidate for
                public office.

                6. The Corporation may pay reasonable compensation to any person for services rendered
                to the Corporation in furtherance of its lawful purposes.

         Ex. A at 1.

                8.      In 2000, VDARE, then still known as the Lexington Research Institute, Limited,

         applied for recognition as a tax-exempt organization by the Internal Revenue Service (IRS). A




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         true and correct copy of VDARE’s Form 1023 Application for Recognition of Exemption is

         attached hereto as Exhibit B.

                9.      VDARE was recognized as tax-exempt (under I.R.C. section 501(c)(3)) by the

         IRS in or about May 2001. A true and correct copy of an IRS confirmation letter addressed to

         the Lexington Research Institute Limited dated August 9, 2005 is attached hereto as Exhibit C.

                10.     In 2009, VDARE registered as a charity with the Charities Bureau of the Office of

         the Attorney General, under both the Estates, Powers and Trusts Law (“EPTL”) and under the

         Executive Law. A true and correct copy of VDARE’s CHAR 410 initial registration form is

         attached hereto as Exhibit D.

                11.     VDARE filed its initial registration with the Charities Bureau in 2009, despite

         having begun operations in New York in 2000. New York law requires that charities register

         with the Charities Bureau prior to any solicitation in New York, Exec. Law § 172, and within six

         months “after any property held by [a trustee] or any income therefrom is required to be applied

         to charitable purposes,” EPTL § 8-1.4(d).

                12.     In its CHAR 410, VDARE described its purpose as “creat[ing] and manag[ing]

         internet publications.” Ex. D at 3.

                13.     As a charity operating and soliciting in New York, VDARE is required to file

         annually a CHAR500 Registration Form. The CHAR500 must be signed by two officers and

         asks for self-reporting regarding certain basic information, including the organization’s contact

         information, the number and identity of board members, and information relating to fundraising.

                14.     The CHAR 500 also requires that organizations file and certify a copy of their

         annual IRS Form 990. According to the IRS, the Form 990 “is the IRS’ primary tool for

         gathering information about tax-exempt organizations, educating organizations about tax law



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         requirements and promoting compliance. Organizations also use the Form 990 to share

         information with the public about their programs.” https://www.irs.gov/charities-non-

         profits/form-990-resources-and-tools (last visited December 14, 2022).

                15.     As part of its required filings with the IRS and the Charities Bureau, VDARE,

         since its belated registration, files an IRS Form 990 and certifies to its accuracy each year.

         According to VDARE’s IRS Form 990, the organization’s mission is to “Create and manage

         internet publication.” True and correct copies of VDARE’s Form 990 for 2018-2020 are

         attached hereto as Exhibits E-G.

                16.     As of the date of this Affirmation, VDARE has not filed its 2020 or 2021

         CHAR500 Forms, which would include the IRS Form 990 as an attachment, and is delinquent in

         its required annual registration with the Charities Bureau.

                17.     VDARE reports on its Form 990 that its website is WWW.VDARE.COM. Exs.

         E-G.

                18.     According to VDARE’s Form 1023 Application filed with the IRS and the

         Charities Bureau, Peter Brimelow (“Brimelow”) is the “Director/CEO/Chairman” of VDARE.

         Ex. B at 3. Maggie Brimelow is listed as Secretary/Treasurer on VDARE’s Form 1023

         Application. Id. Upon information and belief, Maggie Brimelow was Peter Brimelow’s wife

         prior to her death in 2004.

                19.     For certain years, Lydia Brimelow is listed as “Secretary, Treasurer and

         Publisher” of VDARE on VDARE’s Char500 filed with the Charities Bureau. Upon information

         and belief, Lydia Brimelow is Peter Brimelow’s current wife. This relationship is not listed on

         Schedule L or Schedule O of the 2020 IRS Form 990, as is required by law. Lydia Brimelow is

         listed as a director of VDARE in its IRS Form 990 for 2020, but not in other years. John



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         Brimelow is Peter Brimelow’s brother and is listed as a director of VDARE in its Form 990 for

         2018-2020. See Exs. E-G.

                20.     As set forth in its IRS 990 for 2020, the most recent filing that is publicly

         available, VDARE’s board and management for 2020 consisted entirely of members of the

         Brimelow family: Peter, Lydia, and John. Ex. G.

                21.     VDARE and its current and past board members are the subject of an ongoing

         investigation by the Attorney General concerning potential financial improprieties, including

         unlawful related party transactions between VDARE and affiliated entities, officers and board

         members, excessive compensation, private inurement, and violations of statutory and common

         law governance standards.

                22.     In February 2020, VDARE was publicly reported to have bought a historic,

         9,300-square foot castle in a West Virginia resort town for $1.4 million. See Rick Steelhammer,

         Berkeley Springs Castle Becomes Conference Site for VDARE, an Organization to ‘Keep

         America American,’ Charleston Gazette-Mail (Mar. 7, 2020), available at

         https://www.wvgazettemail.com/news/berkeley-springs-castle-becomes-conference-site-for-

         vdare-an-organization-to-keep-america-american/article_170131e9-db7c-500f-8a57-

         91e1fcc1ad66.html (last visited December 14, 2022).

                23.     In a February 2020 public announcement on VDARE.com, VDARE described the

         castle as a meeting space “where we can meet and share ideas without fear of deplatforming.”

         See Lydia Brimelow, Lydia Brimelow: We Got the Keys to the Castle!, VDARE.COM (Feb. 26,

         2020), https://vdare.com/articles/lydia-brimelow-we-got-the-keys-to-the-castle (last visited

         December 14, 2022).




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                  24.   Months later, Brimelow continued to represent to donors that the castle was a

         necessity—stating in a solicitation that VDARE “had to buy the Berkeley Springs Castle.” See

         “VDARE.com Editor Peter Brimelow: Please Give By Credit Card BEFORE MIDNIGHT—

         While You Still Can!”, https://vdare.com/articles/vdare-com-editor-peter-brimelow-please-give-

         by-credit-card-before-midnight-while-you-still-can (last visited December 14, 2022).

                  25.   Upon information and belief, Peter Brimelow, Lydia Brimelow, and their three

         children moved into the Berkeley Springs Castle and have been using it as their primary family

         residence since March 2020.

                  26.   On VDARE.com, the Brimelows have posted photos of the family celebrating

         holidays at the castle such as the 4th of July (https://vdare.com/posts/the-brimelow-family-

         wishes-you-a-happy-independence-day (last visited December 14, 2022)), and Christmas Eve

         (https://vdare.com/articles/peter-brimelow-merry-christmas-from-vdare-com-f3d0cb33-af41-

         4d90-93b9-c82cd46c5950 (last visited December 14, 2022)).

                  27.   In a post dated December 4, 2020, a VDARE.com contributor reported visiting

         the castle and noted that “Peter and Lydia Brimelow have moved in and spend most of their time

         there with their [children]….”. See https://vdare.com/radio-derb/castling-with-vdare-com-

         senate-visa-giveaway-covid-hypocrisy-and-students-cancel-black-etc (last visited December 14,

         2022).

                  28.   Public filings indicate that, in December 2020, VDARE conveyed the entirety of

         the Berkeley Springs Castle property in two separate transactions to two West Virginia

         corporations that had been incorporated by Lydia Brimelow five months earlier. VDARE

         conveyed the castle itself and the land that it sits on to the Berkeley Castle Foundation (BCF), a

         putative non-profit corporation. VDARE conveyed the remaining land, consisting of eight



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         parcels, to BBB, LLC, a for-profit corporation. Transfer of charitable assets to a for-profit entity

         without fair consideration is a violation of both New York and federal law. True and correct

         copies of these deeds are attached as Exhibit H and I.

                29.     This transaction is not reported on the VDARE 2020 IRS Form 990, as required

         by law, nor was it submitted to the Charities Bureau for approval, as required by Sections 510

         and 511 of the Not-for-Profit Corporation Law.

                30.     According to records on file with the West Virginia Secretary of State, Lydia

         Brimelow incorporated BCF as a West Virginia domiciled nonprofit on July 21, 2020. A copy of

         the Business Organization Detail page for BCF from the West Virginia Secretary of State’s

         website is attached as Exhibit J.

                31.     BCF was recognized as a tax-exempt organization by the IRS by notice dated

         January 20, 2022. A copy of BCF’s tax exemption recognition notice is attached hereto as

         Exhibit K.

                32.     Using the tagline “When nothing but a castle will do,” BCF offers to rent the

         castle as an event space through its website. According to that website, BCF began taking event

         reservations in summer 2020.




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         https://www.berkeleyspringscastle.com/contact.html (last visited December 14, 2022).

                33.     According to records on file with the West Virginia Secretary of State, Lydia

         Brimelow incorporated BBB, LLC as a West Virginia domiciled for-profit corporation on July

         21, 2020. Lydia Brimelow is listed as BBB, LLC’s organizer and manager. The organization’s

         only listed business purpose is “Real Estate and Rental and Leasing—Real Estate—Lessors of

         Real Estate.” A copy of the Business Organization Detail page from the West Virginia Secretary

         of state is attached as Exhibit L.

                34.     Announcements posted to VDARE.com in October 2021 indicate that the castle’s

         “First Public Event” was an “Auction Preview Party” showcasing items from the castle that the

         Brimelows were selling in a private auction, including swords, a riding helmet, and a butter

         churn. See “Come To Our First Public Event! Castle Auction: Saturday, October 16th” at

         https://vdare.com/posts/come-to-our-first-public-event-castle-auction-saturday-october-16th

         (“VDARE.com bought the Berkeley Castle furnished, and we’re retaining many of the beautiful

         pieces for Castle use. But there are just so many we can’t use them all! So, in partnership with

         local auction house J Lawyer, we’re offering the rest up to our friends and supporters.”) (last

         visited December 14, 2022) and “Downsizing For The Historical Berkeley Springs Castle” at

         https://www.jlawyerauctions.com/auctions/detail/bw70268 (last visited December 14, 2022).

                35.     Following the public reporting of the castle purchase, personnel in the Office of

         the Attorney General reviewed VDARE’s Form 990s and other publicly available documents.

         The OAG identified several areas of concern which may constitute violations of VDARE’s

         bylaws and/or New York law. For example, and without limitation:

                a.      According to its IRS Form 990 for 2019, VDARE raised over $4.2 million

                        in contributions and grants in 2019, which is more than eight times its



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                      publicly reported 2018 revenue and more than ten times its publicly

                      reported 2017 revenue. VDARE did not file a report by an independent

                      auditor for that year, as required for organizations soliciting in New York

                      with revenue of over $1,000,000. VDARE claimed an exemption from the

                      requirement on the grounds that it raised less than the requisite $25,000

                      from New York donors.

                b.    According to VDARE’s disclosures in Schedule J of the 990, VDARE

                      does not appear to have any process in place for determining Brimelow’s

                      salary.

                c.    According to VDARE’s IRS Form 990 for 2019, Brimelow’s reported

                      compensation for 2019 nearly doubled from 2018, to $345,364 — an

                      amount equivalent to nearly half of VDARE’s total program service

                      budget for the year.

                d.    According to Schedule L of VDARE’s 990, rather than pay Brimelow

                      directly, VDARE pays Brimelow’s salary through an independent

                      contractor, Happy Penguins LLC, which VDARE reports is owned by

                      Brimelow. Under this arrangement, Peter Brimelow, VDARE’s chief

                      executive, is technically a Happy Penguins “leased employee” rather than

                      a VDARE employee.

                e.    In 2019, VDARE paid Happy Penguins more than Peter Brimelow’s

                      annual salary. Although Brimelow’s reported salary for 2019 was

                      $345,364, VDARE also reported paying Happy Penguins LLC $411,003.

                      In 2019, VDARE also listed the Brimelows’ residential home address in



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                      Litchfield, Connecticut as its corporate address while reporting $36,142 in

                      “office expenses” and $8,664 in “occupancy expenses” on its Form 990 —

                      additional compensation to the Brimelows that was not properly reported.

                      These financial arrangements may violate express conflict provisions in

                      the N-PCL and VDARE’s bylaws.

                f.    Lydia Brimelow’s position in the organization is inconsistently and

                      incompletely reported. To the extent that she serves as an officer or

                      director of VDARE, that family relationship, which should be disclosed, is

                      not reported on VDARE’s Form 990.

                g.    The VDARE Form 990 for 2020 contains additional statements which

                      raise significant issues about compliance with governing law and use of

                      charitable assets. For example, in response to Form 990, Part VI, Line

                      11b: Form 990 Review Process Schedule O represents that “No review

                      was or will be conducted.” The IRS 990 at Section VI, question 12

                      represents that there is a conflict of interest policy (as required by New

                      York Not-for-Profit Law) but the explanation of that policy is nowhere

                      addressed on Schedule O, as required by the IRS. Schedule J, which

                      requires disclosure of certain benefits to officers, leaves blank the question

                      whether the officer receives a housing allowance or residence for personal

                      use. Schedule L, which requires disclosures of transactions with interested

                      persons, makes no mention either of Lydia Brimelow’s salary from

                      VDARE or of the transaction providing a residence for use by the

                      Brimelows.



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                 36.     In April 2020, Facebook suspended VDARE’s Facebook account based on

          Facebook’s determination that VDARE engaged in “coordinated inauthentic behavior” by

          creating a network of “fake accounts to create fictitious personas…drive traffic to off-platform

          sites, and evade enforcement.” According to Facebook’s analysis, VDARE’s network consisted

          of “19 Pages, 15 Facebook accounts, and 1 Group” accounting for 207,700 followers. Facebook

          determined that VDARE’s network spent “around $114,000” buying ads to further its inauthentic

          behavior. If true, this could constitute a waste of charitable assets and breach of the Brimelows’

          fiduciary duties as VDARE officers. VDARE sued Facebook, alleging defamation, when

          Facebook published a copy of its 2020 report, and VDARE attached a copy of the report to its

          federal complaint. A true and correct copy of the April 2020 “Coordinated Inauthentic Behavior

          Report,” as filed by VDARE, is attached as Exhibit M.

                 37.     On June 24, 2022, the Attorney General personally served a subpoena duces

          tecum on VDARE by delivery to VDARE’s designated agent for service, the Secretary of State

          of New York, in compliance with CPLR 311 and N-PCL § 306. A true and correct copy of the

          Subpoena is attached hereto as Exhibit N.

                 38.     On June 24, 2022, the Attorney General mailed a copy of the Subpoena, by U.S.

          Mail Certified Return Receipt to the address identified in VDARE’s most recent annual filing

          with the Charities Bureau (276 Cacapon Road, Berkeley Springs, West Virginia 25411), together

          with a copy of the Affidavit of Service prepared by OAG Investigator Donald C. Anselment and

          a cover letter confirming the nature of the document. A true and correct copy of the Attorney

          General’s June 24, 2022 letter is attached hereto as Exhibit O.




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                 Efforts to Obtain Subpoena Compliance Since July 2022

                 39.       VDARE responded to receipt of the Attorney General’s Subpoena by immediately

          insisting that the Subpoena be withdrawn as unlawful: on July 2, 2022, VDARE’s then-counsel

          Frederick Kelly confirmed receipt of the Subpoena, demanded that the Subpoena be withdrawn

          in its entirety, and requested information regarding, inter alia, the subject matter of the

          investigation and the relevance of the documents sought in the Subpoena. True and correct

          copies of Kelly’s July 2, 2022 email and its attachments are attached hereto as Exhibit P.

                 40.       On July 18, 2022, counsel from the Attorney General’s Office met telephonically

          with Kelly. During that call, Kelly asked the OAG to provide information regarding the nature

          of the investigation and expressed concerns regarding certain Subpoena requests, including

          requests that he believed were overbroad or called for production of documents protected by the

          attorney-client privilege. OAG counsel responded to Kelly’s questions, with a reservation of

          rights, and identified concerns regarding: (1) the purchase and use of the castle; (2) benefits

          conferred upon the Brimelows; (3) whether the VDARE board is properly overseeing the

          finances of the organization; and (4) whether the organization is using charitable assets in

          accordance with its mission. The OAG also stated that to the extent counsel believed that

          production would invade attorney-client privilege, the Subpoena did not seek privileged

          communications and expressly instructed counsel to withhold such documents and provide a

          privilege log.

                 41.       On July 20, 2022, Kelly sent a second letter to the OAG, by which VDARE

          renewed its request that the Subpoena be withdrawn and set forth individual objections to many

          of the Subpoena’s individual requests on the grounds of overbreadth, vagueness, attorney-client




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          privilege, and that its requests sought the identities of VDARE readers, writers, and donors. A

          true and correct copy of VDARE’s July 20, 2022 letter is attached hereto as Exhibit Q.

                 42.     On July 27, 2022, the Attorney General responded by email to the objections

          raised in VDARE’s July 20 letter. With a reservation of rights, counsel for the OAG attempted

          to address VDARE’s concerns by clarifying individual Subpoena requests and agreeing that the

          names of certain individuals, including VDARE contributors and volunteer supporters, could be

          redacted from otherwise responsive records. A true and correct copy of the OAG email dated

          July 27, 2022 is attached hereto as Exhibit R.

                 43.     In August 2022, VDARE retained substitute counsel — attorney Andrew Frisch

          — and indicated through that new counsel that it intended to comply with the Subpoena. Frisch

          contacted the OAG by phone and letter to identify himself as VDARE’s new representative in

          connection with the Subpoena response and he requested additional time to collect and review

          potentially responsive material for production. In a letter on September 19, 2022, Frisch wrote:

          “I do not stand by my predecessor counsel’s position that the Subpoena be withdrawn.” He

          noted that there existed “a significant volume of electronically-stored and hard copy documents

          that need to be reviewed” and he confirmed that he had prepared the first of what he expected

          would be multiple rolling production deliveries. He also confirmed that he had redacted certain

          information in his first production delivery but had not “had ample time to fully evaluate bases

          underlying the redactions.” A true and correct copy of Frisch’s letter dated September 19, 2022

          is attached hereto as Exhibit S.

                 44.     VDARE made its first production of responsive material to the OAG on

          September 19, 2022, nearly two months after the Subpoena’s originally stated deadline for

          completion of all production. The September 19 production contained 27 documents produced



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          without Bates numbers and bearing unmarked redactions. No log was provided with the

          production to identify or explain how and why the documents had been redacted.

                 45.      The OAG requested a redaction log for VDARE’s production immediately upon

          receiving the September 19 delivery and has repeated that request in the three months since. In

          an email on September 30, 2022, the OAG expressly insisted that productions be delivered in the

          form called for by the Subpoena and that all redactions be accompanied by “a log identifying the

          Bates range for any pages on which redactions appear, the legal basis for those redaction, and a

          general description of the category of information being withheld.” The OAG’s September 30

          email explained that, without a redaction log, the Office had no means to “reliably identify what

          has been deleted from the material [VDARE was] producing and on what legal basis.” A true a

          correct copy of the OAG’s September 30, 2022 email is attached as Exhibit T.

                 46.      In twelve weeks since its first delivery, VDARE has produced approximately

          6,000 pages of material from its hard copy records that it identifies as responsive to the

          Subpoena. It has redacted that material without offering any legal basis for individual redactions

          or any explanation of how otherwise responsive material has been identified and segregated for

          redaction. The redactions are extensive, and they have been applied across almost every

          category of document produced, including VDARE board meeting minutes, VDARE bank

          statements, internal VDARE accounting ledgers, VDARE credit card statements, invoices sent to

          VDARE, financial records for the limited liability company (Happy Penguins LLC) from which

          VDARE has historically leased Peter Brimelow’s services, and bank statements to accounts held

          personally by Peter and Lydia Brimelow. In one instance, VDARE appears to have redacted a

          magazine subscription renewal form addressed to Peter Brimelow that it also marked as

          Confidential.



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                 47.     On October 31, 2022, Lydia Brimelow certified to the OAG that, with limited

          exceptions, VDARE’s production from its hard copy files was complete. A true and correct

          copy of Brimelow’s October 31 certification is attached as Exhibit U. As certified, VDARE’s

          hard copy production contains no responsive material from the following categories of record

          called for by the Subpoena: (i) solicitation materials sent by VDARE to potential contributors;

          (ii) documents related to the setting or adjusting VDARE’s officer compensation; (iii) documents

          concerning past or future VDARE events located at the Berkeley Springs Castle property; (iv)

          documents concerning Director and Officer liability insurance held by VDARE for the benefit of

          its Board; (v) documents sufficient to demonstrate who controls VDARE’s financial accounts;

          and (vi) communications between VDARE and its accountants.

                 48.     On October 31, 2022, VDARE also identified 22 unique email accounts that

          together contained approximately 40 gigabytes of potentially responsive electronically-stored

          information. VDARE counsel stated on October 31 that review of those accounts would be

          completed on or before November 21, 2022. A true and correct copy of the October 31, 2022

          letter to the OAG from VDARE counsel is attached, without its attached list of email account

          names, as Exhibit V.

                 49.     VDARE did not produce any material from its electronic files as promised on

          November 21. In letters dated November 21 and November 28, attached as Exhibits W and X,

          VDARE counsel reported to the OAG that its email review was taking longer than expected. In

          its November 28 letter, VDARE counsel identified December 12, 2022 as a new deadline — set

          without input or consent from the OAG — by which it would complete an email production. No

          such production was ever provided.




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                 50.     The OAG has met with VDARE counsel, in person and by phone, on multiple

          occasions in the months since VDARE made its first September 2022 production. VDARE

          counsel has assured the OAG throughout that he was working diligently to comply with the

          Subpoena. The OAG has expressed concern over production delay in each of its contacts with

          VDARE counsel and has objected repeatedly to VDARE’s continuing production of redacted

          material without any identified explanation of or legal basis for redaction.

                 51.     On December 2, 2022, counsel for the OAG summarized its concerns with the

          pace and scope of VDARE’s production to date in a letter addressed to VDARE counsel. A true

          and correct copy of the December 2, 2022 letter is attached as Exhibit Y.

                 52.     As of the date of this filing, the Subpoena’s deadline for production has been

          extended no fewer than six times — most recently to December 12, 2022. In total, these

          adjournments extended the Subpoena’s stated response deadline by approximately twenty weeks.

                 53.     As of the date of this filing, VDARE has not produced any material from the 22

          individual VDARE email accounts that it identified on October 31 as containing potentially

          responsive material.

                 54.     As of the date of this filing, VDARE has refused to produce any log identifying

          the material in its production that it has redacted and the legal basis on which it is withholding

          the redacted information.

                 55.     On December 12, 2022, the same date that VDARE counsel independently

          selected for complete production of responsive VDARE email, VDARE filed a lawsuit in the

          U.S. District Court for the Northern District of New York seeking to have the Attorney General’s

          investigative Subpoena declared unconstitutional. A true and correct copy of VDARE’s




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          December 12, 2022 Verified Complaint is attached as Exhibit Z. The OAG believes that

          VDARE’s claims in that action are without merit and will seek to dismiss the complaint.

                 56.     In accordance with CPLR Rule 2217(b), I affirm that the Attorney General has

          not previously requested the relief sought by this application.


          Dated: New York, New York
                 December 16, 2022

                                                                LETITIA JAMES
                                                                Attorney General of the State of New York

                                                                By:

                                                                _________________________
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